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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
            Plaintiff,                              )
                                                    )
v.                                                  )           No. 4:24-CR-293-JAR/SPM
                                                    )
STANLEY E. ALFORD,                                  )
                                                    )
            Defendant.                              )

                            MOTION FOR PRETRIAL DETENTION

       COMES NOW the United States of America, by and through undersigned counsel, and moves

the Court to order Defendant detained pending trial. The Government also requests that a detention

hearing be held three days from the date of Defendant’s initial appearance before the U.S. Magistrate

Judge, pursuant to the Bail Reform Act of 1984. See 18 U.S.C. § 3142(f)(1)(A), (B), (D), & (E).

       For its grounds, the Government provides as follows:

       1.        There is a presumption in favor of detention in this case, as there is probable cause

to believe that Defendant Stanley E. Alford committed multiple offenses under section 924(c). See

id. § 3142(e)(3)(B). Specifically, the Grand Jury charged him with two counts of brandishing a

firearm in furtherance of crimes of violence, in addition to two underlying Hobbs Act robberies

and a count for possessing a firearm as a convicted felon. See Doc. 2 (citing 18 U.S.C. §§ 1956(a),

924(c)(1)(A)(ii), and 922(g)(1)). The Grand Jury also found that Alford has sustained at least three

convictions for violent felonies committed on different occasions, meaning he faces a 15-year

mandatory minimum as an Armed Career Criminal in addition to two mandatory consecutive 7-

year sentences under section 924(c). Id.

       2.        Even without the statutory presumption, pretrial detention is warranted in this case due

to the weight the weight of evidence against Alford, his history and characteristics, the danger he


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poses to the community, and the need to assure his appearance at future proceedings. See 18 U.S.C.

§ 3142(g). Three reasons stand out in particular.

       3.      First, Alford poses a serious danger to the community, as evidenced by both his

current charges and the numerous armed robberies for which he has been previously convicted.

       4.      Second, and significantly, Alford is currently detained on several state robbery

charges. See State v. Stanley E. Alford, Case No. 24SL-CR00013-01 (Mo. 21st Cir. Ct.).

       5.      Lastly, Alford poses a significant flight risk because he faces a significant prison

term, with 29 years in mandatory minimums alone, and the evidence against him is overwhelming:

Alford was caught on surveillance camera during two business robberies wearing the same outfit and

brandishing an identical gun; he was under surveillance during the second robbery with a GPS tracker

attached to his car; and officers recovered from Alford’s home and vehicle the distinctive clothing

worn during the robberies, the same black-and-silver handgun, a misappropriated South Dakota

license plate using during the second robbery, and the rings Alford robbed from a pawn shop.

       6.      In sum, because no conditions of release would mitigate Alford’s flight risk and or

the danger he poses to the community, pretrial detention is warranted in this case.

       WHEREFORE, the United States requests that this Court order Alford detained prior to

trial and further order a detention hearing three days from the date of his initial appearance.



                                                        Respectfully submitted,

                                                        SAYLER A. FLEMING
                                                        United States Attorney

                                                        _/s/ Zachary M. Bluestone
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on June 17, 2024, a true and accurate copy of the foregoing was served

upon all counsel of record via the Court’s electronic filing system.


                                                     _/s/ Zachary M. Bluestone
                                                     ZACHARY M. BLUESTONE, #69004MO
                                                     Assistant United States Attorney




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